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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


ALLISON HETRICK, individually and on
behalf of all others similarly situated,

              Plaintiff,                           Civil Action No. 1:25-CV-10103-NMG

       v.

ASCEND LEARNING, LLC,

              Defendant.


                 ASSENTED-TO MOTION FOR EXTENSION OF TIME TO
                  RESPOND TO DEFENDANT’S MOTION TO DISMISS

       Plaintiff Allison Hetrick hereby moves the Court, with the assent of Defendant Ascend

Learning, LLC, to extend its time to answer or otherwise respond to the Complaint in this matter

up to and including May 12, 2025. As grounds for this Motion, Defendant states as follows:

       1.     On January 14, 2025, Plaintiff Allison Hetrick filed a Complaint against Defendant.

See ECF No. 1.

       2.     Pursuant to Fed. R. Civ. P. 4 (d)(3), Defendant’s deadline to respond to the

Complaint was March 17, 2025.

       3.     With Plaintiff’s assent, Defendant moved to extend the deadline to respond to the

Complaint on March 11, 2025, until April 7, 2025. See ECF No. 14.

       4.     The Court granted Defendant’s Assented-To Motion for Extension of Time to

Respond to Plaintiff’s Complaint on March 12, 2025, thereby resetting Defendant’s answer

deadline to April 7, 2025. See ECF No. 17.

       5.     Defendant filed its Motion to Dismiss on April 7, 2025.
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       6.      Plaintiff’s current deadline to respond to Defendant’s Motion to Dismiss is April

21, 2025.

       7.      Plaintiff conferred with Defendant’s counsel via email on April 8, 2025 regarding

this request for an extension of time to oppose the Motion to Dismiss.

       8.      Defendant’s counsel has indicated that Defendant does not oppose Plaintiff’s

request for an extension of time to oppose the Motion to Dismiss.

       9.      Good cause exists for granting this Motion in that Plaintiff requires additional time

to adequately respond to the Motion to Dismiss filed on April 7, 2025, and a short extension of

time will not cause undue delay, nor will it prejudice Defendant.

       10.     Plaintiff has not previously requested an extension of the deadline to respond to the

Motion to Dismiss.

       WHEREFORE, Plaintiff respectfully requests that the Court extend the time for Plaintiff

respond to the Motion to Dismiss up to and including May 12, 2025.



 Dated: April 9, 2025                            Respectfully submitted,

                                                 By: /s/ William F. Sinnott

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                                                Counsel for Plaintiff and Putative Class



                                RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), counsel for Plaintiff conferred with counsel for Defendant

about the requested extension via email on April 8, 2025, and counsel for Defendant assented to

the extension.

                                             /s/ Tyler Somes
                                              Tyler Somes


                                CERTIFICATE OF SERVICE
       I, Tyler Somes, hereby certify that a copy of the foregoing document, filed through the

CM/ECF system, will be sent electronically to the registered participants as identified on the

Notice of Electronic Filing (NEF) on April 9, 2025.

                                                /s/ Tyler Somes
                                                Tyler Somes




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